                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
                              Plaintiff,         )
                                                 )              ORDER
 v.                                              )
                                                 )    CASE NO. DNCW 3:94CR30-2
  ANDRE CARDELL KING,                            )    (Financial Litigation Unit)
                                                 )
                              Defendant          )


       FOR THE REASONS set forth in the United States’ Response (Doc. No. 206) to the

Defendant’s Motion for Reconsideration (Doc. No. 205), the Defendant’s motion is DENIED.

       IT IS SO ORDERED.




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